Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 1 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 2 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 3 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 4 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 5 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 6 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 7 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 8 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 9 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 10 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 11 of 12
Case 4:25-cv-00333-DCN   Document 2
                                  1   Filed 06/26/25   Page 12 of 12
